Case 2:18-cv-07241-CAS-PLA Document 105 Filed 04/23/21 Page 1 of 3 Page ID #:1693



     1   JENNER & BLOCK LLP
         Andrew J. Thomas (Cal. Bar No. 159533)
     2   ajthomas@jenner.com
         Alexander M. Smith (Cal. Bar No. 295187)
     3   asmith@jenner.com
         Andrew G. Sullivan (Cal. Bar No. 301122)
     4   agsullivan@jenner.com
         Anna K. Lyons (Cal. Bar No. 324090)
     5   alyons@jenner.com
         633 West 5th Street, Suite 3600
     6   Los Angeles, CA 90071
         Telephone: (213) 239-5100
     7   Facsimile: (213) 239-5199
     8
         Attorneys for All Defendants
     9
   10                            UNITED STATES DISTRICT COURT
   11                       CENTRAL DISTRICT OF CALIFORNIA
   12
   13    KEVIN RISTO, on behalf of himself          Case No. 2:18-cv-07241-CAS-PLA
   14    and all others similarly situated,
                                                    Class Action
   15                    Plaintiff,
                                                    DECLARATION OF DUNCAN
   16    vs.                                        CRABTREE-IRELAND IN
   17                                               SUPPORT OF DEFENDANTS’
         SCREEN ACTORS GUILD-                       MOTION FOR SUMMARY
   18    AMERICAN FEDERATION OF                     JUDGMENT
   19    TELEVISION AND RADIO
         ARTISTS, a Delaware corporation; et
   20    al.
   21                    Defendants.
   22
   23
   24
   25
   26
   27
   28

                                 DECLARATION OF DUNCAN CRABTREE-IRELAND
Case 2:18-cv-07241-CAS-PLA Document 105 Filed 04/23/21 Page 2 of 3 Page ID #:1694



     1              DECLARATION OF DUNCAN CRABTREE-IRELAND
     2         I, Duncan Crabtree-Ireland, declare as follows:
     3         1.     I serve as the Chief Operating Officer and General Counsel of the
     4   Screen Actors Guild-American Federation of Radio and Television Artists (“SAG-
     5   AFTRA”). Since February 2012, I have served as a Trustee of the AFM & SAG-
     6   AFTRA Intellectual Property Rights Distribution Fund (the “Fund”). I am also a
     7   Defendant in this action. I submit this declaration in support of the Defendants’
     8   Motion for Summary Judgment in this action. If called to testify, I could and would
     9   testify as to the following facts based on my personal knowledge and based on
   10    information compiled by SAG-AFTRA staff at my direction.
   11          2.     SAG-AFTRA has approximately 160,000 members.                Of those
   12    members, only a small fraction are background vocalists on sound recordings; most
   13    are film and television actors.
   14          3.     In 2012 and early 2013, prior to the Trustees’ approval of the Data
   15    Agreement, the Fund’s Executive Director, Dennis Dreith, supported the concept
   16    of compensating the Unions for the data and services they provided to the Fund.
   17          4.     When the Service Fee was proposed and approved in 2013, I
   18    concluded that the Service Fee was justified because it enabled the Fund to secure
   19    access to valuable information provided by the Unions. I determined it was
   20    reasonable in part because I did not believe it was appropriate for SAG-AFTRA to
   21    expend member dues to subsidize the activities of the Fund that benefit performers
   22    who are not SAG-AFTRA members. I believed it was appropriate that such non-
   23    members and SAG-AFTRA members who benefit from the activities of the Fund
   24    (i.e. the non-featured vocalists on sound recordings) should bear the Fund’s
   25    administrative costs rather than SAG-AFTRA members (such as film and TV
   26    actors) who do not receive royalties from the Fund.
   27          5.     When the Service Fee was proposed and approved in 2013, the
   28    Trustees did not believe there was any meaningful conflict of interest in part

                                                  1
                           DECLARATION OF DUNCAN CRABTREE-IRELAND2958334
Case 2:18-cv-07241-CAS-PLA Document 105 Filed 04/23/21 Page 3 of 3 Page ID #:1695


     1 because the interests of the Fund and the Unions were aligned—i.e., that it was in
     2 the best interests of the Fund and the Unions for the Fund to secure ongoing access
     3 to the session reports and other Union information the Fund used to identify and
     4 locate non-featured performers by paying a reasonable fee to the Unions.
     5             I declare under penalty of perjury under the laws of the United States of
     6 America that the foregoing is true and correct.
     7             Executed this 23rd day of April, 2021.
     8
     9
                                                  __________________ __
    10
                                                  Duncan Crabtree-Ireland
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                     2
                                 DECLARATION OF DUNCAN CRABTREE-IRELAND
         2958334
